Dear Secretary Carnahan:
This opinion letter responds to your request dated December 1, 2008, for our review under Section 116.332, RSMo, of the sufficiency as to form of an initiative petition submitted by Ron Calzone, regarding a proposed constitutional amendment related to Article VI (version 1).
We conclude that the petition should be rejected for the following reason:
  • While the text of the measure brackets the matter to be deleted as required by Section 116.050, RSMo 2000, the text also strikes through the matter to be deleted, which is not specifically authorized by Section 116.050 and decreases the legibility of the matter to be deleted.
Because of our rejection of the form of the petition for the reason stated above, we have not reviewed the petition to determine if additional deficiencies exist. Pursuant to Section 116.332.3, RSMo, the Secretary of State is authorized to review this opinion and "make a final decision as to the approval or rejection of the form of the petition."
                                   Very truly yours,
                                   ___________________
                                   Karen King Mitchell
                                   Deputy Attorney General *Page 1 